Case 2:03-cV-027Ol-.]PI\/|-Cgc Document 310 Filed 05/02/05 Page 1 of 2 Page|D 187

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IN THE UNITED STATES DISTRICT COURT ` "“ ‘*

FOR THE WESTERN DISTRICT OF TENNESSEEQSFMY

WESTERN DIVISION

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MARISSA MILLER, A Minor, By

and Through Her Mother and

Next Friend, MIRANDA MILLER,
Plaintiffs,

v.

JoHN DAcUs, M.D.,

Defendant.

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No. 03-2701 Ml/V

 

ORDER DENYING PLAINTIFF'S RENEWED MOTION TO CERTIFY QUESTION TO

TENNESSEE SUPREME COURT

 

Before the Court is Plaintiff's Renewed Motion to Certify

Question to the Tennessee Supreme Court, filed April 21, 2005.

Defendant responded in opposition on May 2, 2005. The Court has

ruled on this issue in orders entered on March 9, 2005, (Docket

No. 1?8), and March 21, 2005, (Docket No. 233). For the reasons

previously stated, Plaintiff's motion is DENIED.

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so oRDERED this Q> day @f May, 2005.

 
 

 

     

JO P. MCCALLA
U TED STATES DISTRICT

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JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 310 in
case 2:03-CV-02701 Was distributed by faX, mail, or direct printing on
May 6, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

